UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

JOSIAH GALLOWAY,
Plaintiff,
-against-

NASSAU COUNTY; THE INCORPORATED
VILLAGE OF HEMPSTEAD; Police Officer
STEVEN HOROWITZ, Shield No. 144;
Detective MATTHEW ROSS, Shield No. 834;
Detective CHARLES DECARO, Shield No. 1047;
Detective RONALD LIPSON, Shield No. 1296;
Detective THOMAS D’ LUGINSKI, Shield No.
7900; Detective GEORGE DARIENZO, Shield
No. 1038; Detective KEVIN CUNNINGHAM,
Shield No. 112; Detective Sergeant RICHARD
DORSI; Detective RENE B. YAO; Detective
CARL STRANGE, Shield No. 1225; JOHN and
JANE DOE 1-20,

Defendants.

 

SIRS:

Docket No. 19-cv-5026 (AMD)(JO)

AMENDED
ANSWER TO SECOND
AMENDED COMPLAINT

Defendants, THE INCORPORATED VILLAGE OF HEMPSTEAD, Police Officer

STEVEN HOROWITZ, Shield No. 144, and Detective KEVIN CUNNINGHAM, Shield No.: 112,

as and for their Amended Answer to Plaintiff's Second Amended Complaint, set forth as follows:

INTRODUCTION

1. Deny any knowledge or information sufficient to form a belief as to each and every

allegation contained in Paragraph “1” of the Plaintiff's Second Amended Complaint.

2. Deny any knowledge or information sufficient to form a belief as to each and every

allegation contained in Paragraph “2” of the Plaintiff's Second Amended Complaint.
3. Deny each and every allegation contained in Paragraph “3” of the Plaintiff's Second

 

Amended Complaint.
NATURE OF THE ACTION
4, | Deny each and every allegation contained in Paragraph “4” of the Plaintiff's Second
Amended Complaint.
JURISDICTION AND VENUE

 

5. Admit each and every allegation contained in Paragraph “S” of the Plaintiff's
Second Amended Complaint.

6. Admit each and every allegation contained in Paragraph “6” of the Plaintiff's
Second Amended Complaint.

7. Admit each and every allegation contained in Paragraph “7” of the Plaintiff's
Second Amended Complaint.

NOTICE OF CLAIM
8. Deny any knowledge or information sufficient to form a belief as to each and every

allegation contained in Paragraph “8” of the Plaintiff's Second Amended Complaint.

9. Deny any knowledge or information sufficient to form a belief'as to each and every
allegation contained in Paragraph “9” of the Plaintiff's Second Amended Complaint.

10. | Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “10” of the Plaintiffs Second Amended Complaint.

JURY DEMAND
11. Admit each and every allegation contained in Paragraph “11” of the Plaintiff's

Second Amended Complaint.
12. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “12” of the Plaintiff's Second Amended Complaint.

13. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “13” of the Plaintiff's Second Amended Complaint.

14. Deny each and every allegation contained in Paragraph “14” of the Plaintiff's
Second Amended Complaint.

15. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “15” of the Plaintiffs Second Amended Complaint.

16. | Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “16” of the Plaintiff's Second Amended Complaint.

17. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “17” of the Plaintiff's Second Amended Complaint.

18. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “18” of the Plaintiff's Second Amended Complaint.

STATEMENT OF FACTS

The Crime and Initial Investigation

19. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “19” of the Plaintiff's Second Amended Complaint.

20. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “20” of the Plaintiff's Second Amended Complaint.

21. Deny any knowledge or information sufficient to form a belief as to each and every

allegation contained in Paragraph “21” of the Plaintiff's Second Amended Complaint.
22. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “22” of the Plaintiff's Second Amended Complaint.

23. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “23” of the Plaintiffs Second Amended Complaint.

24. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “24” of the Plaintiff's Second Amended Complaint.

25. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “25” of the Plaintiff's Second Amended Complaint.

26. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “26” of the Plaintiffs Second Amended Complaint.

27. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “27” of the Plaintiff's Second Amended Complaint.

28. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “28” of the Plaintiff's Second Amended Complaint.

29. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “29” of the Plaintiffs Second Amended Complaint.

30. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “30” of the Plaintiff s Second Amended Complaint.

31. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “31” of the Plaintiff's Second Amended Complaint.

32. Deny any knowledge or information sufficient to form a belief as to each and every

allegation contained in Paragraph “32” of the Plaintiff's Second Amended Complaint.
Josiah Galloway and Robert Ogletree are Arrested on Unrelated Charges

33. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “33” of the Plaintiff's Second Amended Complaint.

34. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “34” of the Plaintiff's Second Amended Complaint.

35. Deny each and every allegation contained in Paragraph “35” of the Plaintiff's
Second Amended Complaint.

36. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “36” of the Plaintiff's Second Amended Complaint.
Defendants Manufacture Inculpatory Evidence and Suppress Exculpatory Evidence

37. Deny each and every allegation contained in Paragraph “37” of the Plaintiffs
Second Amended Complaint.

38. Deny each and every allegation contained in Paragraph “38” of the Plaintiff s
Second Amended Complaint.

39. Deny each and every allegation contained in Paragraph “39” of the Plaintiff s
Second Amended Complaint.

40. | Deny each and every allegation contained in Paragraph “40” of the Plaintiff's
Second Amended Complaint.

41. Deny each and every allegation contained in Paragraph “41” of the Plaintiff’ s
Second Amended Complaint.

42. Deny each and every allegation contained in Paragraph “42” of the Plaintiff’ s

Second Amended Complaint.
43. Deny each and every allegation contained in Paragraph “43” of the Plaintiff s
Second Amended Complaint.

44. Deny each and every allegation contained in Paragraph “44” of the Plaintiff’ s
Second Amended Complaint.

45. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “45” of the Plaintiffs Second Amended Complaint.

46. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “46” of the Plaintiff's Second Amended Complaint.

47, Deny each and every allegation contained in Paragraph “47” of the Plaintiffs
Second Amended Complaint.

48. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “48” of the Plaintiff's Second Amended Complaint.

49. Deny each and every allegation contained in Paragraph “49” of the Plaintiff s
Second Amended Complaint.

50. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “50” of the Plaintiffs Second Amended Complaint.

51. | Deny each and every allegation contained in Paragraph “51” of the Plaintiff’ s
Second Amended Complaint.
Defendants Ignore Plaintiff's Alibi and the Actual Perpetrator

52. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “52” of the Plaintiff's Second Amended Complaint.

53. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “53” of the Plaintiff's Second Amended Complaint.

54. Deny each and every allegation contained in Paragraph “54” of the Plaintiffs
Second Amended Complaint.

55. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “55” of the Plaintiff's Second Amended Complaint.

56. Deny each and every allegation contained in Paragraph “56” of the Plaintiffs
Second Amended Complaint.

57. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “57” of the Plaintiff's Second Amended Complaint.
Deprived of a Fair Trial, Josiah Galloway is Wrongfully Convicted

58. Deny each and every allegation contained in Paragraph “58” of the Plaintiff's
Second Amended Complaint.

59, Deny each and every allegation contained in Paragraph “59” of the Plaintiff's
Second Amended Complaint.

60. | Deny each and every allegation contained in Paragraph “60” of the Plaintiff's
Second Amended Complaint.

61. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “61” of the Plaintiff's Second Amended Complaint.

62. | Deny each and every allegation contained in Paragraph “62” of the Plaintiff's
Second Amended Complaint, and respectfully refer all questions of law to the Court.

63. Deny any knowledge or information sufficient to form a belief as to each and every

allegation contained in Paragraph “63” of the Plaintiff's Second Amended Complaint.
64. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “64” of the Plaintiff's Second Amended Complaint.

65. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “65” of the Plaintiff's Second Amended Complaint.

66. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “66” of the Plaintiff's Second Amended Complaint.
Plaintiff's Innocence Comes to Light and He is Exonerated

67. Deny each and every allegation contained in Paragraph “67” of the Plaintiff s
Second Amended Complaint.

68. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “68” of the Plaintiffs Second Amended Complaint.

69. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “69” of the Plaintiff's Second Amended Complaint.

70. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “70” of the Plaintiffs Second Amended Complaint.

71. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “71” of the Plaintiff's Second Amended Complaint.

72. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “72” of the Plaintiff's Second Amended Complaint.

DEFENDANTS’ MALICE AND DELIVERATE INDIFFERENCE
73. Deny each and every allegation contained in Paragraph “73” of the Plaintiff's

Second Amended Complaint.
74. Deny each and every allegation contained in Paragraph “74” of the Plaintiff's
Second Amended Complaint.

75. Deny each and every allegation contained in Paragraph “75” of the Plaintiffs
Second Amended Complaint.

76. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “76” of the Plaintiff's Second Amended Complaint.

PLAINTIFF’S INJURIES AND DAMAGES

77. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “77” of the Plaintiff's Second Amended Complaint.

78. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “78” of the Plaintiffs Second Amended Complaint.

79. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “79” of the Plaintiff's Second Amended Complain

80. Deny any knowledge or information sufficient to form a belief'as to each and every
allegation contained in Paragraph “80” of the Plaintiff's Second Amended Complaint.

81. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “81” of the Plaintiff's Second Amended Complaint.

82. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “82” of the Plaintiff's Second Amended Complaint.

FIRST CLAIM
§1983 Malicious Prosecution

83. Answering Paragraph “83” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs

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referred to therein, with the same force and effect as though fully set forth herein.

84. Deny each and every allegation contained in Paragraph “84” of the Plaintiff s
Second Amended Complaint.

85. Deny each and every allegation contained in Paragraph “85” of the Plaintiff's
Second Amended Complaint.

86. Deny each and every allegation contained in Paragraph “86” of the Plaintiff s
Second Amended Complaint.

87. Deny each and every allegation contained in Paragraph “87” of the Plaintiff s
Second Amended Complaint.

88. Deny each and every allegation contained in Paragraph “88” of the Plaintiff’ s
Second Amended Complaint.

89. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “89” of the Plaintiff's Second Amended Complaint.

90. Deny each and every allegation contained in Paragraph “90” of the Plaintiff's
Second Amended Complaint.

SECOND CLAIM
§ 1983 Fabrication of Evidence, Denial of Fair Trial & Brady Violations
- (against all individual defendants)

91. Answering Paragraph “91” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs
referred to therein, with the same force and effect as though fully set forth herein.

92. Deny each and every allegation contained in Paragraph “92” of the Plaintiff s

Second Amended Complaint.

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93. Deny each and every allegation contained in Paragraph “93”
Second Amended Complaint.

94. Deny each and every allegation contained in Paragraph “94”
Second Amended Complaint.

95. Deny each and every allegation contained in Paragraph “95”
Second Amended Complaint.

96. Deny each and every allegation contained in Paragraph “96”
Second Amended Complaint.

97. Deny each and every allegation contained in Paragraph “97”
Second Amended Complaint.

98. Deny each and every allegation contained in Paragraph “98”
Second Amended Complaint.

99. Deny each and every allegation contained in Paragraph “99”
Second Amended Complaint.

THIRD CLAIM

§ 1983 Supervisory Liability
(against Dorsi and unidentified supervisors)

of the Plaintiffs

of the Plaintiff's

of the Plaintiff's

of the Plaintiffs

of the Plaintiffs

of the Plaintiff's

of the Plaintiffs

100. Answering Paragraph “100” of the Complaint, these answering Defendants repeat

each and every admission or denial of the allegations contained in the foregoing paragraphs

referred to therein, with the same force and effect as though fully set forth herein.

101. Deny each and every allegation contained in Paragraph “101” of the Plaintiff s

Second Amended Complaint.

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102. Deny each and every allegation contained in Paragraph “102” of the Plaintiff's
Second Amended Complaint.

103. Deny each and every allegation contained in Paragraph “103” of the Plaintiff's
Second Amended Complaint.

FOURTH CLAIM
False Imprisonment and Malicious Prosecution under New York State Law
(against Nassau County and Village of Hempstead, by respondeat superior)

104. Answering Paragraph “104” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs
referred to therein, with the same force and effect as though fully set forth herein.

105. Deny each and every allegation contained in Paragraph “105” of the Plaintiff's
Second Amended Complaint.

106. Deny each and every allegation contained in Paragraph “106” of the Plaintiff's
Second Amended Complaint.

107. Deny each and every allegation contained in Paragraph “107” of the Plaintiff's
Second Amended Complaint.

108. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “108” of the Plaintiff's Second Amended Complaint.

109. Deny any knowledge or information sufficient to form a belief as to each and every
allegation contained in Paragraph “109” of the Plaintiff's Second Amended Complaint.

110. Deny each and every allegation contained in Paragraph “110” of the Plaintiffs

Second Amended Complaint.

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FIFTH CLAIM
Intentional or Negligent Infliction of Emotional Distress
(against Nassau County and Village of Hempstead, by respondeat superior)

111. Answering Paragraph “111” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs
referred to therein, with the same force and effect as though fully set forth herein.

112. Deny each and every allegation contained in Paragraph “112” of the Plaintiff's
Second Amended Complaint.

113. Deny each and every allegation contained in Paragraph “113” of the Plaintiffs
Second Amended Complaint.

114. Deny each and every allegation contained in Paragraph “114” of the Plaintiffs
Second Amended Complaint.

SIXTH CLAIM
§ 1983 Conspiracy
(against all individual defendants)

115. Answering Paragraph “115” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs
referred to therein, with the same force and effect as though fully set forth herein.

116. Deny each and every allegation contained in Paragraph “116” of the Plaintiff’ s
Second Amended Complaint.

117. Deny each and every allegation contained in Paragraph “117” of the Plaintiff's
Second Amended Complaint.

118. Deny each and every allegation contained in Paragraph “118” of the Plaintiff's

Second Amended Complaint.

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119. Deny each and every allegation contained in Paragraph “119” of the Plaintiffs
Second Amended Complaint.

120. Deny each and every allegation contained in Paragraph “120” of the Plaintiffs
Second Amended Complaint.

SEVENTH CLAIM
Unlawful Pre-Trial Detention
In Violation of the 4 Amendment and
Russo v. City of Bridgeport, 479 F.3d 196 (2d Cir. 2007)
(against all individual defendants)

121. Answering Paragraph “121” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs
referred to therein, with the same force and effect as though fully set forth herein.

122. Deny each and every allegation contained in Paragraph “122” of the Plaintiff’ s
Second Amended Complaint.

123. Deny each and every allegation contained in Paragraph “123” of the Plaintiff s
Second Amended Complaint.

EIGHTH CLAIM
‘Failure to Intervene
(against all individual defendants)

124. Answering Paragraph “124” of the Complaint, these answering Defendants repeat
each and every admission or denial of the allegations contained in the foregoing paragraphs
referred to therein, with the same force and effect as though fully set forth herein.

125. Deny each and every allegation contained in Paragraph “122” of the Plaintiff s

Second Amended Complaint.

126. Deny each and every allegation contained in Paragraph “123” of the Plaintiffs

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Second Amended Complaint.
AS AND FOR A FIRST AFFIRMATIVE DEFENSE

127. Whatever injuries and/or damages plaintiff(s) may have sustained at the time and
place alleged in the Complaint, were caused in whole or in part or were contributed to by the
plaintiff's culpable conduct and negligence and/or fault and/or want of care and/or intentional
conduct on the part of the plaintiff, including contributory negligence, and without any negligence
or fault or want of care on the part of these answering Defendants and that the amount of damages
which may be recovered by the Plaintiff shall be diminished in proportion to which her culpable

conduct caused said damages.

AS AND FOR A SECOND AFFIRMATIVE DEFENSE
128. Municipal Defendants are not subject to an award of exemplary or punitive
damages.
AS AND FOR A THIRD AFFIRMATIVE DEFENSE
129. Defendants acted in good faith and with probable cause and justification in the
detention, and imprisonment of the Plaintiff and therefore no claim lies against them in the conduct
of their duties.
AS AND FOR A FOURTH AFFIRMATIVE DEFENSE
130. That individual Defendants enjoy a qualified immunity with respect to those acts
that are performed pursuant to their duties and responsibilities as a police officer in the State of
New York.
AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

131. Pursuant to the laws of the State of New York, including the Criminal Procedure

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Law of the State of New York, §140.05 et. seq., Defendants acted reasonably, properly and under

the law in the alleged stop of the Plaintiff.

AS AND FOR A SIXTH AFFIRMATIVE DEFENSE
132. That the arrest and detention of the Plaintiff was justified under the Penal Law and
Criminal Procedure Law of the State of New York in that the arresting officer had reasonable
probable cause for believing that crimes had been committed and that the Plaintiff had committed
said crimes.
AS AND FOR AN SEVENTH AFFIRMATIVE DEFENSE
133. That notwithstanding any favorable termination for the criminal proceeding, if any,
the Plaintiff was in fact guilty of the offense with which he was charged.
AS AND FOR A EIGHTH AFFIRMATIVE DEFENSE
134. Under the Court’s supplemental jurisdiction pursuant to the law of the State of New
York, Plaintiff has failed to state a claim for deprivation of federal rights, malicious prosecution,
abuse of process, and excessive force, in whole or in part, upon which relief may be granted.
AS AND FOR A NINTH AFFIRMATIVE DEFENSE
135. Ifany damages are recoverable against these answering Defendants, the amount of
such damages shall be diminished by the amount of the funds which Plaintiff has received or shall
receive from such collateral source.
AS AND FOR AN TENTH AFFIRMATIVE DEFENSE
136. Any injuries suffered by Plaintiff were not caused by a negligent or wrongful act or

omission of Defendants or any individual acting under their direction or control.

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AS AND FOR A ELEVENTH AFFIRMATIVE DEFENSE

137. Plaintiff's Complaint must be dismissed, in whole or in part, for failure to state a

cause of action upon which relief may be granted.
AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

138. Plaintiff's claims must be dismissed because they are barred by the applicable

Statute of Limitations.
AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

139. Plaintiff's claims are barred on the ground that Plaintiff's conduct violated

applicable state criminal laws.
AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

140. Any criminal proceeding against Plaintiff commenced or participated in by

Defendants was based upon probable cause and was not due to malice.
AS AND FOR AN FIFTEENTH AFFIRMATIVE DEFENSE

141. At all times, an objective officer of reasonable competence would have had
probable cause to believe a crime had been committed or that he was otherwise justified in
searching and detaining Plaintiff.

AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

142. If Defendants are held liable in this action, then any possible damages award
should be apportioned so that Defendants are not responsible for the wrongdoing of the
non-parties that Plaintiff has failed to include in this action.

AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

143. Plaintiff failed to mitigate or otherwise act to lessen or reduce the damages alleged

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in the Complaint.
AS AND FOR A EIGHTEENTH AFFIRMATIVE DEFENSE
144. Upon information and belief, in the event Plaintiff recovers at time of trial against
Defendants, such recovery for non-economic loss shall not exceed Defendants’ equitable share
determined in accordance with the relative culpability of each person, party and/or entity, which
caused or contributed to the total liability for non-economic loss; provided that the liability of the
Defendants are found to be fifty percent or less of the total liability of all persons, parties and/or
entitles liable.
AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE
145. Upon information and belief, that the injury or injuries, if any, sustained by the
Plaintiff at the time and place, or on the occasion referred to in the Plaintiffs Complaint, were
sustained or so suffered or caused, in whole or in part, by the negligent act or acts and/or
assumption of risk of the Plaintiff, and the damages recoverable by Plaintiff, if any, shall be
diminished in the proportion which the culpable conduct attributable to the Plaintiff bears to the
culpable conduct which caused the damages.
AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE
146. Upon information and belief, these answering Defendants are free from any
negligence and in no way contributed to the occurrence and injuries referred to in the Plaintiff's
Complaint.
AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE
147. That answering individual Defendants are entitled to qualified immunity as to any

actions alleged since their conduct did not violate clearly established statutory or constitutional

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rights of which a reasonable person would have been aware based upon an objective reasonable
assessment of the conduct measured in reference to clearly established law.
AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE
148. That the Complaint fails to set forth facts sufficient to constitute a deprivation of
any constitutional right or other basis for a civil rights claim.
AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE
149. Withdrawn.
AS AND FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE
150. Withdrawn
AS AND FOR A TWENTY-FIFTH AFFIRMATIVE DEFENSE
151. That the answering Defendants, at all times complained of, acted reasonably and in
good faith in the discharge of their official duties and responsibilities.
AS AND FOR A TWENTY-SIXTH AFFIRMATIVE DEFENSE
152. That these answering Defendants acted in what they did solely pursuant to their
duties and responsibilities as law enforcement and/or prosecuting officials.
AS AND FOR A TWENTY-SEVENTH AFFIRMATIVE DEFENSE
153. That the answering Defendants at all times acted in good faith in that they
reasonably believed that they were exercising and acting within their statutory and constitutional
powers.
AS AND FOR A TWENTY-EIGHTH AFFIRMATIVE DEFENSE
154. That in performing such duties and responsibilities, the answering individual

Defendants are and were protected by absolute and/or qualified Federal and/or State immunity.

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AS AND FOR A TWENTY-NINTH AFFIRMATIVE DEFENSE
155. Withdrawn.
AS AND FOR A THIRTIETH AFFIRMATIVE DEFENSE
156. Plaintiff lacks standing to bring the instant action.
WHEREFORE, Defendants demand judgment dismissing the Complaint against them,
together with costs and disbursements, and for such other relief as the Court may deem just and
proper.

Dated: Mineola, New York
April 15, 2020
Yours, etc.,

BEE READY SGC — & DONOVAN, LLP

By: AMY 2S

Michael P/Strav6

Attorneys for Defendants The Incorporated Village

of Hempstead, P.O. Steven Horowitz, Shield No. 144, and
Detective Kevin Cunningham, Shield No. 112.

170 Old Country Road, Ste. 200

Mineola, New York 11501

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Email: msiravo@beereadylaw.com

File No.: 1444-1816

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